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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Judge William J. Martínez

  Civil Action No. 19-cv-0657-WJM-KLM

  LILLEBABY, LLC,

         Plaintiff,

  v.

  BOBA, INC., d/b/a Beco Baby Carrier,

       Defendants.
  ______________________________________________________________________

            ORDER ADOPTING APRIL 29, 2019 RECOMMENDATION OF
                     UNITED STATES MAGISTRATE JUDGE
  ______________________________________________________________________

         This matter is before the Court on the April 29, 2019 Recommendation of United

  States Magistrate Judge Kristen L. Mix (the “Recommendation”) (ECF No. 16) that this

  case be stayed and administratively closed pursuant to D.C.COLO.LCivR 41.2 pending

  completion of a U.S. International Trade Commission investigation. See 28 U.S.C.

  § 1659(a). The Recommendation is incorporated herein by reference. See 28 U.S.C.

  § 636(b)(1)(B); Fed. R. Civ. P. 72(b).

         The Recommendation advised the parties that specific written objections were due

  within fourteen days after being served with a copy of the Recommendation. (ECF No.

  16 at 3.) Despite this advisement, no objections to the Magistrate Judge’s

  Recommendation have to date been received.

         The Court concludes that the Magistrate Judge’s analysis was thorough and

  sound, and that there is no clear error on the face of the record. See Fed. R. Civ. P.

  72(b) advisory committee’s note (“When no timely objection is filed, the court need only
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  satisfy itself that there is no clear error on the face of the record in order to accept the

  recommendation.”); see also Summers v. Utah, 927 F.2d 1165, 1167 (10th Cir. 1991) (“In

  the absence of timely objection, the district court may review a magistrate’s report under

  any standard it deems appropriate.”).

         In accordance with the foregoing, the Court ORDERS as follows:

  (1)    The Magistrate Judge’s Recommendation (ECF No. 16) is ADOPTED in its

         entirety;

  (2)    This case is STAYED pursuant to 28 U.S.C. § 1659(a) and ADMINISTRATIVELY

         CLOSED pursuant to D.C.COLO.LCivR 41.2, subject to reopening for good cause,

         including a final determination by the International Trade Commission; and

  (3)    The parties shall provide a status report within 14 days of the resolution of the ITC

         proceeding.


         Dated this 14th day of May, 2019.

                                                      BY THE COURT:



                                                      _________________________
                                                      William J. Martínez
                                                      United States District Judge




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